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UNITED STATES DISTRICT COURT                             SOUTHERN DISTRICT OF TEXAS
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                       November 08, 2016
Peiqing Cong,   ct   al.,                        §                                     David J. Bradley, Clerk
                                                 §
                 Plaintiffs,                     §
                                                 §
versus                                           §                        Civil Action H-U-1976
                                                 §
ConocoPhillips Company,                          §
                                                 §
                 Defendant.                      §


                            Opinion on Remand and Deposition

I.       Introduction.
         One hundred sixty-seven fishermen in China want to depose ConocoPhillips Company
before suit to investigate potential claims from an oil spill in China. They filed in Texas court;
ConocoPhillips Company removed. The fishermen say the petition cannot be removed because
it is not a civil action. This case will remain in this national court.


2.       Background.
         In June 20II, oil seeped from the seabed in the Penglai 19-3 oil field in China's Bohai
Bay. The oil field is jointly developed by China National Offshore Oil Corporation, an oil
company of the People's Republic of China, and ConocoPhillips China, a Liberian company.
It is a subsidiary of ConocoPhillips Company. After an investigation, ConocoPhillips China
contributed more than $350 million to the State Oceanic Administration of China and the
Ministry of Agriculture for the damage.
         OnJuly 2, 2012, thirty fishermen from Shandong Province - Cong plaintiffs - sued
ConocoPhillips Company in Houston for damage to sea cucumbers and scallops. It pends in
this court.
         On October 16, 2012, one hundred sixty-seven fishermen from Hebei Province - Li
plaintiffs - with the same counsel filed a petition in Texas court to depose executives from
ConocoPhillips Company. They argue that the pre-suit deposition is necessary to "investigate
a potential claim."
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3.       Timing.
         The Li plaintiffs' motion to remand is too late - they did not file it within thirty days
of removal. I The court addresses the substantive defects secondarily.


4.       Ci'Vil Action.
         Even if the Li plaintiffs had met the 3o-day deadline, their petition would not be
remanded. They say that their petition is not a civil action that can be removed because it is not
a complaint, but it is merely a discovery tool that might lead to the filing of one. Their petition
directly relates to claims they have already asserted before this court and in China.
         A removable civil action is (a) a controversy between parties (b) with pleadings (c)
seeking relief (d) that requires a judicial determination (e) resulting in an enforceable,
appealable order. The term applies to a wide range of activity that may be brought before a court
irrespective of how the parties may characterize it at common law, equity, or admiralty.l At its
essence, a civil action is one person asking a court to do something about another person. 3
         The Li plaintiffs want the court to order ConocoPhillips Company to deliver its
executives to be questioned under oath about an incident in China for which the Li plaintiffs
claim ConocoPhillips Company is responsible. It is not ancillary to a potential action - one that
may never be brought; this is their third lawsuit on the same factual and legal predicate.
         The Li plaintiffs admit that (a) they have already sued in China and (b) their petition
parallels the Cong plaintiffs' lawsuit pending before this court. They are not confused about the
claims, parties, or damages. The same data are available in the Cong lawsuit already filed by
these same lawyers. Their petition is hostile and adversarial. It is the opening salvo of the
fishermen's third action - the start of a new American lawsuit. It may be removed to federal
court.




         I   28 U.S.c. § 1446.

         l Fed. R. Civ. P. 2 ("One Form of Action: There is one form of action - the civil
         action."); Fed. R. Civ. P. 3 ("Commencing an action: A civil action is commenced by
         filing a complaint with the court.").

         3   14B Charles A. Wright et al., Federal Practice and Procedure § 3721 (4th ed.
         200   9).
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         Also illustrating the contrived character of this action as a petition for simple, readily
available information, the Li plaintiffs have not met the requirements ofTexas Rule        202. 4   No
witness is dying, no third,party information is needed to know whom to sue, and no other
reasonable use of this petition has been offered.
         A pre'suit deposition may not be used to circumvent the Li plaintiffs' responsibility to
review the facts they possess and plead properly - a short statement of the cause of action to
give notice of the claim. 5 ConocoPhillips Company is entitled to know the charges against it.
The Li plaintiffs may not keep their information private and seek extensive discovery from the
actual and "potential" defendants through a separate proceeding. 6
         The same attorneys who filed the Cong lawsuit six months before have now expressly
represented to the court that they do not have enough information to file an identical suit. They
may not depose ConocoPhillips Company.


5.       Jurisdiction..
         The court has jurisdiction over any claim the Li plaintiffs might bring against
ConocoPhillips Company. Their petition - which incorporates as an attachment the complaint
filed by the Cong plaintiffs - asserts (a) state law claims, and   (b) federal claims under the Alien
Tort Claims Act. 7
         Common,law claims based on the release of oil in foreign navigable waters - such as a
claim for negligence - would be preempted by federal maritime law; federal district courts have
original jurisdiction over federal maritime claims. 8 Of course, a common,law claim would need
to be a Chinese one, and they do not exist. For this court to address an injury in claims by
Chinese fishermen against a Liberian company and a Chinese agency, it would have to arise
under the Constitution, laws, or treaties of the United States and would present a federal
question. 9


         4   Tex. R. Civ. P.   202.


         5   Tex. R. Civ. P. 47.

         6   Texas Rice Land Co. v. Langham, 193 S.W. 473, 489 (Tex. Civ. App. 1917).

         7   28 U.S.c. § 135 0 .

         s 28 U.S.c.    § 1333.

         9 2 8 U.S.c.   § 1331.
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         This court also has diversity jurisdiction. The Li plaintiffs say that their damages are the
same as the Cong plaintiffs' damages. They claimed:
         •         economic losses;
         •         property damages;
         •         restoration of fish stock and the environment;
         •         damages to natural resources;
         •         damages from the loss of use and enjoyment of property;
         •         loss of quality oflife;
         •         compensation for unjust enrichment;
         •         punitive and exemplary damages;
         •         the cost to conduct an environmental assessment; and
         •         other incidental damages.
         Given the extent of the damages sought, the amount in controversy for each of the Li
plaintiffs would exceed $75,000. The Li plaintiffs are Chinese; ConocoPhillips Company is a
                                                                                                   IO
Delaware corporation with a principal place of business in Texas. Complete diversity exists.


6.       Conclusion.
         The Li plaintiffs filed a petition for pre-suit deposition, but they are not confused about
an element of their claims. Their petition is disingenuous and manipulative. It is a lawsuit
against ConocoPhillips Company calculated to impose costs on the defendant without meeting
the preparation and disclosure requirements of a properly pleaded action and attempting to
avoid federal court. Remand will be denied. They may not depose ConocoPhillips Company.


         Signed on November 8, 2016, at Houston, Texas.




                                                                Lynn N. Hughes
                                                           United States DistrictJudge




         TO   28 U.S.c.   § 133 2 .
